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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF MICHIGAN

 BRIDGING COMMUNITIES, INC.                  )
 and GAMBLE PLUMBING &                       )
 HEATING, INC., individually and as          )
 the representatives of a class of           )
 similarly situated persons,                 )       No. 09-CV-14971
                                             )
                     Plaintiffs,             )
                                             )
              v.                             )
                                             )
 TOP FLITE FINANCIAL, INC.                   )
                                             )
                     Defendant.              )

                             FINAL APPROVAL ORDER

      The matter coming before the Court on the request for final approval of the

class action settlement by plaintiffs, Bridging Communities, Inc. and Gamble

Plumbing & Heating, Inc. (“Plaintiffs”), and defendant Top Flite Financial, Inc.

(“Defendant”), due notice given, the parties appearing through counsel, and the Court

being fully advised in the premises, IT IS HEREBY ORDERED:

      1.     This Court has jurisdiction over the parties, the members of the

Settlement Class, and the claims asserted in this lawsuit.

      2.     Pursuant to Rule 23(e) of the Federal Rules of Civil Procedure, the

settlement of this action, as embodied in the terms of the Settlement Agreement, is

hereby finally approved as a fair, reasonable, and adequate settlement, in the best

interests of the Settlement Class, and in light of the factual, legal, practical and

procedural considerations raised by this case.
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      3.     The Settlement Class is defined as follows: “All persons who owned or

used a fax machine to which a facsimile transmission was successfully sent in March

2006 referencing ‘Top Flite Financial’ and offering ‘0 Down, 0 Closing Costs’ for

‘Mortgages’ on ‘Purchases / ReFinancing,’ and identifying (718) 360-0971 as a

‘Remove Hotline’ telephone number.” Excluded from the Settlement Class are Top

Flite Financial, Inc., any of its parents, subsidiaries, affiliates or controlled persons,

and its officers, directors, partners, members, agents, servants, and employees of any

kind, the immediate family members of such persons, and the Court and its

employees and staff.

      4.     Upon the Declaration of Dorothy Sue Merryman, the Court finds that

the notice provided to the Settlement Class Members was the best notice practicable

under the circumstances and it satisfied the requirements of due process and Federal

Rule 23(e)(1).

      5.     Upon the Affidavit of C. Thomas Ludden, the Court finds that notice has

been given to the appropriate State and Federal officials in accordance with the Class

Action Fairness Act, 28 U.S.C. § 1715.

      6.     No objections were received.

      7.     No persons validly requested exclusion from the Settlement Class and

the settlement.

      8.     After due consideration of, among other things, the uncertainty about

the likelihood of: (a) the Class’s ultimate success on the merits; (b) the range of the

Class’s possible recovery; (c) the complexity, expense and duration of the litigation;

(d) the substance and amount of opposition to the settlement; (e) the state of
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proceedings at which the settlement was achieved; (f) all written submissions,

declarations and arguments of counsel; and (g) after notice and hearing, this Court

finds that the settlement is fair, adequate and reasonable. This Court also finds that

the financial settlement terms fall within the range of settlement terms that would

be considered fair, adequate and reasonable. Accordingly, this Settlement Agreement

should be and is APPROVED and shall govern all issues regarding the settlement

and all rights of the Parties, including the Class Members. Each Class Member

(including any person or entity claiming by or through him, her or it, but except those

persons identified above who have previously excluded themselves from the

Settlement Class) shall be bound by the Settlement Agreement, including being

subject to the Releases set forth in the Settlement Agreement, if applicable to them.

      9.     The Court hereby finds that the Agreement is the result of good faith,

arm’s-length negotiations by the parties thereto, and that it will further the interests

of justice. The Settlement Agreement is hereby incorporated into and adopted as part

of this Order.

      10.    Additionally, based upon the evidence in the record and statements

made in open court, the Court finds as follows:

             (a)    Plaintiffs alleged that the faxes at issue violated the TCPA
                    because they were sent without the prior express invitation or
                    permission of the recipients;

             (b)    Extensive discovery and significant litigation and appeals have
                    been incurred by the parties over the faxes;

             (c)    The settlement was made by Defendant in reasonable
                    anticipation of potential liability that would arise from a finding
                    that Defendant sent thousands of fax advertisements that
                    violated the TCPA;

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             (d)    The settlement amount is fair and reasonable because it is within
                    the range of statutory liquidated damages that could be awarded
                    against Defendant for the claims made by Plaintiffs and the
                    Class;

             (e)    The settlement was entered into in good faith following arm’s-
                    length negotiations;

             (f)    5,971 facsimiles referencing ‘Top Flite Financial’ offering ‘0
                    Down, 0 Closing Costs’ for ‘Mortgages’ on ‘Purchases /
                    ReFinancing,’ and identifying (718) 360-0971 as a ‘Remove
                    Hotline’ telephone number were sent on March 20, 2006, of which
                    3,757 were successfully sent;

             (g)    2,212 facsimiles referencing ‘Top Flite Financial’ offering ‘0
                    Down, 0 Closing Costs’ for ‘Mortgages’ on ‘Purchases /
                    ReFinancing,’ and identifying (718) 360-0971 as a ‘Remove
                    Hotline’ telephone number were sent on March 20, 2006, of which
                    514 were successfully sent;

             (h)    Defendant had no intent to injure anyone in this case including
                    the recipients of the fax advertisements sent on March 20, 2006
                    and March 30, 2006; and

             (i)    Defendant’s decision to settle is prudent, taking into account the
                    totality of circumstances.

      11.    The Court enters judgment against Defendant in favor of the Settlement

Class in the total amount of $2,135,500, calculated as $500.00 for each of the 4,271

successful fax transmissions identified in the Report of Robert Biggerstaff, allocated

as follows: (1) $1,878,500 for the 3,757 faxes successfully sent on March 20, 2006, and

(2) $257,000.00 for the 514 faxes successfully sent on March 30, 2006.

      12.    Defendant has created a settlement fund (the “Settlement Fund”) of

$257,000.00 in satisfaction of the portion of the judgment allocated to the March 30,

2006 faxes. The Settlement Fund shall be used to pay valid non-duplicative class

member claims, class action settlement administration costs, attorney’s fees, costs,



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and expenses, and an incentive award to Plaintiffs as determined and awarded by

this Court. Unclaimed monies in the Settlement Fund shall revert to Defendant.

      13.    As agreed in and subject to the Settlement Agreement, each member of

the Settlement Class who received one or more faxes on March 30, 2006, according to

the records in the case, and who submits a timely and valid non-duplicative Claim

Form will be mailed a check not to exceed $500 for each fax they were sent from the

Settlement Fund. The Settlement Administrator shall advise counsel for Plaintiffs

and Defendant of the total amount for the valid non-duplicative claims. Defendant

will release that amount to the Settlement Administrator from the Settlement Funds

and the Settlement Administrator will cause those checks to be mailed after receiving

the Settlement Funds. Checks issued to the claiming Settlement Class members will

be void 181 days after issuance, and any balance will revert to Defendant. The

Settlement Administrator shall issue the check made out to Defendant for the total

amount of void checks within 21 business days of the expiration of the 181 day period.

      14.    As agreed between the parties, the Court approves Class Counsel’s

request for attorneys’ fees in the total amount of $85,666.67 plus out-of-pocket

expenses in the amount of $38,333.33. Those amounts shall be paid from the

Settlement Fund when the Final Judgment and Order becomes final as those terms

are defined in the Settlement Agreement. Class Counsel may recover additional

attorney’s fees of one-third of any future recovery on the remaining portion of the

Judgment plus expenses not compensated from the Settlement Fund.

      15.    As agreed between the parties, the Court approves a $7,500 incentive

award to Bridging Communities, Inc. and $5,000 to Gamble Plumbing & Heating,
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Inc. for serving as the Class Representatives. In accordance with the Settlement

Agreement, those amounts shall be paid from the Settlement Fund when the Final

Judgment and Order become final as those terms are defined in the Settlement

Agreement. Plaintiffs may apply for additional incentive awards should further

litigation result in collection of the remaining portion of the Judgment.

       16.    The remaining portion of the Judgment allocated to the March 20, 2006

faxes shall be satisfied only through the proceeds of Defendant’s insurance policies.

Each Settlement Class member who received a fax on March 20, 2006 according to

the records in the case who does not exclude himself will be sent a pro rata share of

the amount recovered on this portion of the Judgment, after the deductions approved

herein. Such payments will be made by checks void 181 days after issuance. Any

funds received from Defendant’s insurer(s) remaining after payment of all class

administration costs, the incentive awards to Plaintiffs, the attorney’s fees and costs

to Plaintiffs’ attorneys, and all payments to the Settlement Class members, shall be

paid as a cy pres award to a charity or charities approved by this Court at the request

of Plaintiffs’ attorneys

       17.    The Court expressly adopts and incorporates herein all the terms of the

Settlement Agreement. The Parties shall carry out their respective obligations under

that Agreement.

       18.    On entry of this Final Order, Plaintiffs and any Settlement Class

member who did not opt out will be forever barred and permanently enjoined from

directly, indirectly, representatively or in any other capacity, filing, commencing,

prosecuting, continuing, intervening in, participating in as class members or
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otherwise, or receiving any benefits or other relief from any other lawsuit, any other

arbitration, or any other administrative, regulatory, or other proceeding against

Defendant and/or any of its parents, subsidiaries, divisions, affiliates, officers,

directors, shareholders, partners, members, agents, servants and employees (but not

Hartford) of any kind, in any jurisdiction based on or relating in any way whatsoever

to the claims and causes of action, or the facts or circumstances relating thereto, in

or underlying the Action or the settled claims as defined in the Agreement; and all

persons shall be forever barred and permanently enjoined from filing, commencing,

or prosecuting any other lawsuit as a class action against Defendant or its parents,

subsidiaries, divisions, affiliates, officers, directors, shareholders, agents, servants,

partners, members, and employees of any kind (but not Hartford) (including by

seeking to amend a pending complaint to include class allegations or by seeking class

certification in a pending action in any jurisdiction) on behalf of Settlement Class

Members who have not timely excluded themselves from the Settlement Class if such

other lawsuit is based on or related to the claims and causes of action or the facts and

circumstances relating thereto, in this Action or the settled claims.

      19.    Plaintiffs and each Settlement Class Member, and their heirs,

executors, administrators, representatives, agents, successors and assigns, and any

and all other Persons claiming through or by virtue of them, have covenanted with

Defendant and its officers, directors, shareholders and employees not to execute on

the Judgment against Defendant, or any of its past or present officers, stockholders,

directors, employees of any kind, partners, members, agents, servants, parents,

affiliates, subsidiaries or divisions, or any other successors, assigns or legal
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representatives thereof, but rather have agreed to pursue collection of the portion of

the Judgment allocated to the March 20, 2006 faxes solely against Defendant’s

insurance policies and Defendant’s insurer only. This provision does not release the

judgment against Defendant to be entered herein, or the right to enforce the judgment

in favor of the Plaintiffs and the Settlement Class against Defendant’s insurer only.

      20.    All claims or causes of action of any kind by any Settlement Class

member who received a March 30, 2006 fax or anyone claiming by or through him,

her or it brought in this Court or any other forum (other than those by persons who

have opted out of this action) are barred pursuant to the Releases set forth in the

Settlement Agreement. All persons and entities are enjoined from asserting any

claims that are being settled or released herein, either directly or indirectly, against

Defendant or its Insurer, in this Court or any other court or forum.

      21.    The terms of the Agreement and of this Order and the accompanying

Final Judgment shall be forever binding on Plaintiffs and all other Settlement Class

Members, as well as their heirs, executors and administrators, successors and

assigns, and those terms shall have res judicata and other preclusive effect in all

pending and future claims, lawsuits or other proceedings maintained by or on behalf

of any such persons, to the extent those claims, lawsuits, or other proceedings involve

settled Claims.

      22.    If (a) the Settlement Agreement is terminated pursuant to its terms, or

(b) the Settlement Agreement or Final Approval Order and Judgment do not for any

reason become effective, or (c) the Settlement Agreement or Final Approval Order

and Judgment are reversed, vacated or modified in any material or substantive
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respect, then any and all orders entered pursuant to the Settlement Agreement shall

be deemed vacated. If the settlement does not become final in accordance with the

terms of the Settlement Agreement, this Final Approval Order and Judgment shall

be void and be deemed vacated.

      23.    The Court retains jurisdiction for 180 days over this action, Plaintiffs

and all members of the Settlement Class, and Defendant, to determine all matters

relating in any way to this Final Judgment and Order, the Preliminary Approval

Order, or the Settlement Agreement, including but not limited to, their

administration, implementation, interpretation or enforcement. The Court further

retains jurisdiction to enforce this Order.

      24.    The Court finds that there is no just reason to delay the enforcement of

this Final Approval Order and Judgment.

      25.    Post-judgment interest shall accrue on the unpaid portion of the

Judgment amount attributable to the March 20, 2006 faxes from the date of entry of

this Judgment Order.

                                                  BY ORDER OF THE COURT


 Dated: 5/22/2019                                 s/Avern Cohn
                                                  Honorable Judge Avern Cohn




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